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l. clamlsr.mlv. cone z. reason REPRESENTEH voUCHER NuMaER
TNW Miley, Gerome
3. MAG. nKT./DF.F. NuMnER 4. ms'r. DKT.mEF. NUMBER s. APPEALS nKT.meF. NuMnEa 0. oman DKT. NUMBER
2104-020006-001
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l 99 l‘l§ l‘ll£ll¢lll§
U.S. v. Miley Felony Adult Defendant Crimmal Case

 

 

 

 

11. 0FFEN5E(5) CH ARGE\) (cue u.s. Code, Tioe a section)
l) 18 1344A. F -- BANK FRAUD

[fmore than one ol’|'ense, list (np to five) major ol'fm.ies charged, according to severity of olTeose.

 

 
 

 

  

 

 

 

 

lI. ATTORNEY'S NAME (First Nalne, M.l., Last Name,inc]udlng any sul`|'ix) ll COURT ORDER
AND l'\'lAILlNG :ADDRESS \H 0 Appuinting Co:msel ij C Co-Counsel
Harvlel’ T Chfton i:] F Snbs For Federal Defender IJ R Subs For R¢lgin¢d Attorn¢y
Harviel Law Office m P Suba For Panel Atturney m Y Stamlby Cu\lnsel § ._: _
50 North Front Street Priur Atturney's Name: is ‘:f\ "
Suire 3 5'0 »\pp»mmem mm ____ 2041 - §§ .
MCmpl`llS TN 33103 l:i lieeause the above-named person repre - -- has testified under uath§ga‘\“, 'I§/ ' '
- v ncially unable to empl editin‘el`and
Te|ephnne Numh”-: (_901) 543-9799 \ - . . h o leresla ofjust`lce so reqnil_;e;`t'$e‘ ,- § -.
' ‘ - » 7 noted to represent this person Ml|“ls para '
14. NAME AND MAILlNG ADDRESS OF LAW FIRM (on|y provide per inatrnctiuns) ’/\':.m' 15 ,.,y
` '?,f§> 0 §§ "
_ ‘ M‘“ l 53
Signature of Pre:idlng Judiclal Ol`l'lcer or By Order olthe Court "9 -j," ‘-9 0
6/`| 6/') nfl§ -
Date of order Nullc Pro Tunc Date
Repayment or partial repayment ordered from the person represented for this service a
t|me ofappolalment. I;l YES |:] NO

l . ',=1‘- 7 - 1 ;»'z
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CLAIMED HOURS AMOUNT
lS. a. Arraignment and/or P|ea
b. Bail and Detention Hearings ‘
c. Mution Hearings
l .
n d. Trlal
C e. Sentencing Hearings _
3 f. Revocation Hearings ":
: g. Appeals Court "`
h. Other (Speelfy on addltlonal sheets) g '
(Rate per hour = 5 ) TOTALS:
16. a. Interviews and Conferences l "i
0 . . h
n b. Obtammg and reviewing records » §§ ' ‘
n - _# n
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t cane per hour = s ) To'rALs;
l'I, Travel Expenses (lndglng. purking, meals, mileage. ete.)
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aij ”*»:“ 1335 ' . _ -
»=-z"z: § ' ' L‘I*w . y .. = .
19. CERT[FICATION OF ATTORNEY»'PAYEE FOR THE PER.IOD 0 F SERVICE 20. APPO]NTMENT TERM[NAT[ON DATE 21. CASE DlSPO Sl'l`lON
lF OTHER THAN CASE COM|’LET|ON
FROM TO __
22. CLA]M STATUS ij Final Payment ij lnterim Payment Number _ ij Supplemen|al Payment
Have you previously applied to the court l'ta' compensation and/or remlmhuraement l'or this ease'.' m YES i:l NO ll'yes` were you paid? i:] YES i:i NO
Other than from the euurt, have yun, or toyour knowledge haa anyone elae, received payment (compeoaat|on or anything or value) from any other source in connection with this
representation‘.' Ci YES \:\ N() ll'ye:, give detaill on additional aheets.

l swear or afl'lrm the truth or correctness of the above statements.

        

 

Signamro of norney: Dase:

 

 

 

 

 

 

 

 

 

 

 

 

23. lN C()URT CU P. 14. ()UT OF C()URT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT. APPR.' CERT
ZB. SIGNATURE OF THE PRES[DINC JUDlClAL OFFICER DATE ISa. JUDGE f MAG. JUDGE CODE
29. [N C()URT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED
34. SIGNAT[JRE OF CHIEF JUDGE, COURT OF APP EALS (OR DELEGATE) Paymenl DATE 343. JUDGE CODE
approved m excess ol' the statutory threshold an\uunt.
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v antentered on the docketsheetin compliance §§
wzth Hu|e 55 and/or32(b) FRCrP on " “O"'

 

oF TENNESSEE

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Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

